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               UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT

SUSAN SOTO PALMER, et                      No. 23-35595
al.,
                                           D.C. No. 3:22-cv-05035-RSL
           Plaintiffs –                    U.S. District Court for
           Appellees,                      Western Washington,
                                           Tacoma
     v.
                                           APPELLANTS’ MOTION
STEVEN HOBBS, in his                       TO HOLD BRIEFING IN
official capacity as Secretary of          ABEYANCE
State of Washington, and the
STATE OF WASHINGTON,

           Defendants –
           Appellees,

     and

JOSE TREVINO,
ISMAEL G. CAMPOS, and
State Representative ALEX
YBARRA,

           Intervenor-
           Defendants –
           Appellants.
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                              INTRODUCTION

       This is an appeal from a novel merits decision of the district court

holding that a majority-minority legislative district in Washington State

(LD-15) electing a Hispanic state senator violates Section 2 of the Voting

Rights Act (VRA). Remedial proceedings to adopt a revised map of

legislative districts are currently underway in the district court, with the

district court committing to make a decision by March 25 so that primary

elections can be conducted as scheduled on August 6, 2024. Intervenor-

Defendant-Appellants (Appellants) respectfully submit that the interests

of judicial economy favor a single set of consolidated briefs addressing all

issues regarding both (1) the merits of the district court’s VRA holdings

and (2) all issues related to the district court’s adoption of a remedial

map.

       To permit such consolidated briefing and consideration, Appellants

respectfully request that this Court hold briefing in abeyance during the

short period in which the district court considers remedial maps, which

is already underway. Appellants also respectfully request that their

consolidated opening brief be due 30 days after the district court’s

adoption of a remedial map, and that subsequent briefing proceed under



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this Court’s ordinary rules. A table setting forth the proposed schedule is

included below. Plaintiffs and the State of Washington oppose this

motion. Secretary of State Hobbs takes no position.

     Because consolidated briefing will conserve private, public, and

judicial resources and will not cause meaningful prejudice to anyone, this

Court should grant Appellants’ motion for an abeyance.

                              BACKGROUND

     On August 10, 2023, the district court found that the boundaries of

the current majority-minority Hispanic citizen voting age Washington

Legislative District 15 (LD-15) “violate[d] Section 2’s prohibition on

discriminatory results.” ECF No. 218 at 3. The district court entered

judgment for Plaintiffs-Appellees on August 11, 2023, and Appellants

filed their notice of appeal on September 8, 2023. ECF Nos. 219, 222.

     Appellants subsequently filed a petition for certiorari before

judgment with the U.S. Supreme Court, seeking to have this appeal

considered together with a related case, Garcia v. Hobbs, No. 23-467

(U.S.). That petition is fully briefed and has been circulated for

consideration at the Court’s January 19, 2024 conference. See

http://tinyurl.com/dm38x8fv & http://tinyurl.com/44ppbn3y (dockets).


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The Court’s announcements of actions on either of those dockets could be

issued as early as January 22, 2024, when the Court releases its order

list for its January 19 conference.

     Appellants sought a stay of remedial proceedings from this Court,

which was denied on December 21, 2023. See CA9 Dkt# 45. Remedial

proceedings are thus currently ongoing below. Plaintiffs have submitted

five proposed remedial maps, all of which reduce the percentage of

Hispanic voting age citizens of the current district, both Plaintiffs and

Appellants have submitted expert reports, and all parties have filed

briefs. See ECF Nos. 248–52.

     The district court has indicated that it will “schedule a hearing in

the beginning of March to discuss the Court’s preferred remedial option.”

ECF No. 246 at 3. The Washington Secretary of State (Secretary) has

indicated that the State requires adoption of a new map by March 25,

2024; no party has objected to that date, and the district court has

committed to abiding by it: “[r]egardless whether the State or the Court

adopts the new redistricting plan, it will be transmitted to the Secretary

of State on or before March 25, 2024, so that it will be in effect for the

2024 elections.” ECF No. 218 at 32.


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        Appellants’ opening brief is currently due on January 22, 2024.

Appellants thus necessarily would not be able to address any remedial

issues in a brief filed on that day since the district court will not have

made a remedial decision. This motion seeks a short abeyance of the

briefing schedule so that Appellants can address both merits- and

remedies-based issues in a single consolidated opening brief.

                          PROPOSED SCHEDULE

    7 Days After District Any party seeking to challenge the district
    Court’s March Remedial court’s remedial decision shall file a notice
    Decision               of appeal

    7 Days After Docketing In Appellants will file a motion to consolidate
    This Court                all appeals

    30 Days After District Appellants’ consolidated opening brief due
    Court’s Remedial Decision

    30 Days After Opening Appellees’ consolidated answering brief
    Brief                 due *1

    21 Days After Service Of Appellants’ consolidated reply brief due *
    Answering Brief




1 Appellants propose that the ordinary streamlined extension of Circuit
Rule 31-2.2(a) be available for the answering and reply briefs (but not
opening brief). Appellants further propose that if a cross-appeal is filed,
that this Court’s ordinary schedule and procedures for cross-appeals
apply for all briefs after the initial opening brief.
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                                  ARGUMENT

     Bedrock principles of judicial economy favor Appellants’ request for

a short abeyance, which will permit a single set of briefs for all issues

presented by the decisions below. Absent such an abeyance, the existing

briefing schedule will compel merits and remedial issues to be argued

separately across dispersed briefs, since Appellants’ opening brief on

merits issues is currently due on January 22 and the district court will

not adopt a remedial map until March. But the short abeyance that

Appellants seek here will permit consolidated briefing and simplify the

issues presented to this Court by unification of all related arguments.

This request is thus supported by good cause and will not prejudice any

party.

     A short abeyance will also likely permit the parties to account for

any action by the U.S. Supreme Court on Appellants’ petition for

certiorari before judgment and the related case pending the Supreme

Court’s appellate docket. Both of these matters are set to be considered

at the Supreme Court’s January 19 conference, and may be acted upon

as early as when the Court releases its January 22 order list. If the

Supreme Court grants Appellants’ petition, it would eliminate any need


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for briefing in this Court by divesting this Court of appellate jurisdiction.

And if the Supreme Court takes action in Garcia, it could similarly have

an impact on this matter.

     The requested abeyance will not cause Plaintiffs any significant

prejudice—or likely any at all. If this Court follows its ordinary practices,

it is virtually certain that it (1) will consolidate all merits-based and

remedies-based appeals together for consideration and decision, and

(2) will not calendar the consolidated appeals until all briefing is

complete. The abeyance sought is thus unlikely to delay consideration

and decision by this Court since completion of briefing on remedial issues

is likely to be the relevant bottleneck on calendaring and decision—not

whether or not an abeyance on merits-issue briefing is granted. And

because briefing on remedial issues cannot—by definition—begin until

the district court issues a remedial decision, that remedial decision will

ultimately be the determinative factor of when consolidated appeals are

ripe for calendaring.

     Indeed, Appellants’ proposed schedule likely represents a material

acceleration of briefing: a notice of appeal would not otherwise be due

until 30 days after that decision and the opening brief typically would be


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due several months after docketing.2 But Appellants’ proposed schedule

shortens that opening-brief period to 30 days after the remedial decision.

     In any event, the district court has committed to issuing a remedial

decision by March 25, 2024. ECF No. 218 at 32. As a result, the potential

for delay is minimal since the requested abeyance will only be for

approximately two months. Thus, even if there were a delay attributable

to an abeyance, rather than the pre-existing need to await a remedial

decision for remedial briefing to begin, such a delay would be short and

amply justified given the manifest efficiencies of consolidated briefing.

     In addition, Appellants’ proposed schedule affords Plaintiffs the

same time that they would ordinarily receive under this Court’s rules and

practices: i.e., 30 days after the opening brief is served to file an

answering brief, with the possibility of obtaining a 30-day extension upon

request under Circuit Rule 31-2.2(a). That proposal—which mirrors this




2 For example, this appeal was docketed on September 12, 2023, and the
initial scheduling order set a December 21, 2023 deadline for Appellants’
opening brief—i.e., over four months after the district court’s decision.
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Court’s default rules and procedures—will cause Plaintiffs no prejudice.

Instead, it leaves their timetable unchanged. 3

     Appellants’ request for an abeyance is also unlikely to cause the

State Defendants any prejudice. The Attorney General, acting on behalf

of the State, did not offer a substantive defense of the legislative map of

his own State and elected not to appeal the district court’s merits decision

invalidating that map. Given his unwillingness to defend duly enacted

maps promulgated under Washington law, it is unclear what interests he

possesses that could be prejudiced. In any event, because (as discussed

above), the requested relief will not delay (and may in fact accelerate) the

ultimate resolution of this case, neither the State nor the Secretary of

State will experience any prejudice.

                               CONCLUSION

     For the foregoing reasons, this Court should grant Appellants’

motion to hold briefing in abeyance and adopt the proposed schedule set

forth above.




3 In addition, if a longer extension is needed to secure Plaintiffs’ consent
to the requested abeyance, Appellants will happily agree to any such
reasonable request.
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Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

  1. This brief complies with the type-volume limitation of Federal Rule

of Appellate Procedure 27(d)(2)(B) and Circuit Rule 27-1(1)(d) because

this motion contains 1521 words spanning 8 pages, excluding the parts

of the brief exempted by Federal Rule of Appellate Procedure 27(a)(2)(B)

and 32(f).

  2. This brief complies with the typeface requirements of Federal Rule

of Appellate Procedure 32(a)(5) and the type style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because this brief has been

prepared in a proportionally spaced typeface using Century Schoolbook

size 14-point font with Microsoft Word.



Dated: January 5, 2024


                                                        /s/ Jason Torchinsky
                                                        Jason Torchinsky




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                       CERTIFICE OF SERVICE

     I hereby certify that on January 5, 2024, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Ninth Circuit by using the CM/ECF system, which will

notify all registered counsel.



                                                        /s/ Jason Torchinsky
                                                        Jason Torchinsky




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